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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
DEBRA HATTEN-GONZALES, et al.,

Plaintiffs,

VS. Civ. No. 88-385 KG/JHR
Consolidated with
Civ. No. 88-786 KG/JHR
DAVID SCRASE, Secretary of the
New Mexico Human Services Department,
Defendant.
ORDER EXTENDING APPOINTMENT OF SPECIAL MASTER
The Court notes that its appointment of the Special Master expires on June 30, 2023.

(Doc. 1047). While Defendant has made progress in complying with the Second Revised

Modified Settlement Agreement and Order (Doc. 854-1), court orders, and federal law, the Court

finds that Defendant still has compliance issues in need of resolution. This case in part is stayed

because specific issues are pending on appeal. Even so, the Special Master continues his work,

including monitoring compliance facilitating court -ordered monthly conferences with the parties

and reporting to the Court as necessary. The Court, therefore, determines that it is appropriate to

extend the appointment of the Special Master until June 30, 2024, as provided by (Docs 751 and

762), or until the case is dismissed or the Court orders otherwise, whichever occurs sooner.

UNITED STATES DISTAICT JUDGE
